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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
GENERAL PACKAGING                  §
CORPORATION                        §
                                   §
     Plaintiff,                    §
                                   §   CIVIL ACTION NO. 3:14-CV-02818-P
  v.                               §
HOMELAND INSURANCE COMPANY         §
OF NEW YORK, ONEBEACON             §
INSURANCE GROUP, LLC,              §
ONEBEACON INSURANCE COMPANY, §
ONEBEACON AMERICAN INSURANCE §
COMPANY, TRADERS & GENERAL         §
INSURANCE COMPANY, ELGIN B.        §
ALLEN, JR., AIM ASSOCIATION        §
INSURANCE MANAGEMENT, INC.,        §
AIM BENEFIT SERVICES INC.,         §
LEONARDO HERNANDEZ, AND            §
TEXCAP-CONCORD INSURANCE           §
SERVICES, L.P.                     §
                                   §
     Defendants.

      DEFENDANTS HOMELAND INSURANCE COMPANY OF NEW YORK,
 ONEBEACON INSURANCE GROUP, LLC, ONEBEACON INSURANCE COMPANY,
 ONEBEACON AMERICA INSURANCE COMPANY, AND TRADERS & GENERAL
   INSURANCE COMPANY’S FIRST AMENDED ANSWER AND AFFIRMATIVE
    AVERMENTS AND DEFENSES TO PLAINTIFF’S AMENDED COMPLAINT

        Defendants Homeland Insurance Company of New York (“Homeland”), OneBeacon

Insurance Group, LLC (“OIG”), OneBeacon Insurance Company (“OIC”), OneBeacon America

Insurance Company (“OAIC”) 1, and Traders & General Insurance Company (“Traders”)

(collectively, “Defendants”) file this their First Amended Answer and Affirmative Defenses



        1
         OAIC was incorrectly named as OneBeacon American Insurance Company in Plaintiff’s Original Amended
Complaint.


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(“Answer”) to Plaintiff General Packaging Corporation’s (“Plaintiff”) Amended Complaint

(“Amended Complaint”) [ECF No. 7].

                                                A.
                                              ANSWER

I.      PARTIES

        1.     Paragraph 1 of the Amended Complaint does not require Defendants to admit or deny

the allegations therein. To the extent a response is required, Defendants deny the allegations set forth

in Paragraph 1.

        2.     Upon information and belief, Defendants admit the allegations in Paragraph 2 of the

Amended Complaint.

        3.     Defendants admit that Homeland is a New York corporation and that it is a surplus

lines insurance company engaged in the insurance business in Texas. Defendants admit that

Homeland has previously filed an answer in this lawsuit.

        4.     Defendants admit that OIG is a Delaware Corporation with its principal place of

business in Minnesota. Defendants admit that Homeland is engaged in the insurance business in the

State of Texas. Defendants admit that OIG has previously filed an answer in this lawsuit. Defendants

deny the remaining allegations found in the second sentence of Paragraph 4 of the Amended

Complaint.

        5.     Defendants admit that OIC is a Pennsylvania Corporation with its principal place of

business in Minnesota. Defendants admit that OIC is a property and casualty insurance company

engaged in the insurance business in the in the State of Texas. Defendants admit that OIC has

previously filed an answer in this lawsuit. Defendants deny the remaining factual allegations found

in the second sentence of Paragraph 5 of the Amended Complaint.


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       6.        Defendants admit that OAIC was incorporated in Massachusetts at the time of filing

of the Amended Complaint. OAIC affirmatively avers that it is currently incorporated in

Pennsylvania and its principal place of business is in Minnesota. Defendants admit that OAIC has

previously filed an answer in this lawsuit. Defendants deny the remaining allegations found in

Paragraph 6.

       7.        Defendants admit that Traders has previously filed an answer in this lawsuit.

Defendants deny the remaining allegations in Paragraph 7 of the Amended Complaint.

       8.        Defendants admit that Elgin B. Allen, Jr. (“Allen”) has previously filed an answer in

this lawsuit. Defendants lack knowledge or information sufficient to form a belief about the truth of

the remaining allegations in Paragraph 8 of the Amended Complaint, and therefore deny the same.

       9.        Defendants admit that Association Insurance Management, Inc. (“AIM”) has

previously filed an answer in this lawsuit. Defendants lack knowledge or information sufficient to

form a belief about the truth of the remaining allegations in Paragraph 9 of the Amended Complaint,

and therefore deny the same.

       10.       Defendants admit that AIM Benefit Services, Inc. (“AIM Benefit”) has previously

filed an answer in this lawsuit. Defendants lack knowledge or information sufficient to form a belief

about the truth of the remaining allegations in Paragraph 10 of the Amended Complaint, and

therefore deny the same.

       11.       Defendants admit that Leonardo Hernandez (“Hernandez”) has previously filed an

answer in this lawsuit. Defendants lack knowledge or information sufficient to form a belief about

the truth of the remaining allegations in Paragraph 11 of the Amended Complaint, and therefore

deny the same.



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         12.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 12 of the Amended Complaint, and therefore deny the same.

II.      JURISDICTION AND VENUE

         13.   Paragraph 13 of the Amended Complaint does not require Defendants to admit or

deny the allegations therein. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 13.

         14.   Defendants admit this Court has personal jurisdiction over Homeland, OIC, and OIG.

Defendants lack knowledge or information sufficient to form a belief about the truth of the

remaining allegations in Paragraph 14 of the Amended Complaint, and therefore deny the same.

         15.   Defendants admit that venue for this action is proper the United States District Court

for the Northern District of Texas for the reasons stated in Homeland’s Notice of Removal filed on

August 6, 2014.

III.     FACTS

         16.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 16 of the Amended Complaint, and therefore deny the same.

         17.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 17 of the Amended Complaint, and therefore deny the same.

         18.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 18 of the Amended Complaint, and therefore deny the same.

         19.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 19 of the Amended Complaint, and therefore deny the same.

         20.   Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 20 of the Amended Complaint, and therefore deny the same.

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       21.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 21 of the Amended Complaint, and therefore deny the same.

       22.     Defendants admit that Homeland is a surplus insurance company and that Elgin B.

Allen, Jr. (“Allen”) acted as the surplus lines agent. Defendants lack knowledge or information

sufficient to form a belief about the truth of the remaining allegations in Paragraph 22 of the

Amended Complaint, and therefore deny the same.

       23.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 23 of the Amended Complaint, and therefore deny the same.

       24.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 24 of the Amended Complaint, and therefore deny the same.

       25.     Defendants admit Homeland issued Texas Occupational Injury/Employer’s Liability

Policy number TNS-AY00287 (the “Policy”) to Plaintiff and that Policy is attached to the Amended

Complaint as Exhibit A as well as Homeland’s Notice of Removal as Exhibit B-1. Defendants admit

that Allen, a licensed Texas surplus lines agent, placed the Policy with Homeland. Defendants deny

the remaining allegations found in Paragraph 25 of the Amended Complaint.

       26.     Defendants deny the allegations in Paragraph 26 of the Amended Complaint.

       27.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 27 of the Amended Complaint.

       28.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 28 of the Amended Complaint, and therefore deny the same.

       29.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 29 of the Amended Complaint, and therefore deny the same.



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        30.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 30 of the Amended Complaint, and therefore deny the same.

        31.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 31 of the Amended Complaint, and therefore deny the same.

        32.     Defendants deny that Paragraph 32 of the Amended Complaint completely and

accurately quotes the Policy. Defendants deny Plaintiff’s characterization of the quoted portions of

the Declarations to the extent Plaintiff suggests that other portions of the Declarations are not

“relevant.”

        33.     Defendants admit that Paragraph 33 of the Amended Complaint accurately quotes

portions of the first page of the Policy. Defendants deny Plaintiff’s characterization of the quoted

portions of the first page of the Policy to the extent Plaintiff suggests that other portions of page one

of the Policy are not “relevant.”

        34.     Defendants admit that Paragraph 34 of the Amended Complaint accurately quotes

portions of the “Agreement” section of the Policy on page 3.

        35.     Defendants admit that Paragraph 35 of the Amended Complaint accurately quotes

certain “Definitions” contained in the Policy with the exception of the definition of the terms

“Disabled or Disability or Total Disability or Totally Disabled.” Defendants deny Plaintiff’s

characterization of the quoted definitions to the extent Plaintiff suggests that other definitions are not

“relevant.” Defendants deny the remaining allegations in Paragraph 35.

        36.     Defendants admit that Plaintiff is the “Named Insured” in the Policy and

Declarations.

        37.     Defendants admit that Section II.A of the Policy generally provides coverage for

accidental death and dismemberment and affirmatively aver that the exact terms of such coverage
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are stated in the Policy which speaks for itself. Defendants deny that the remainder of Paragraph 37

of the Amended Complaint accurately quotes portions of Section II.B of the Policy.

       38.       Defendants deny that Paragraph 38 of the Amended Complaint accurately quotes

portions of Section II.C of the Policy.

       39.       Defendants deny that Paragraph 39 of the Amended Complaint accurately quotes

portions of Section II.D of the Policy.

       40.       Defendants admit that Paragraph 40 of the Amended Complaint accurately quotes

portions of Section VI of the Policy.

       41.       Defendants admit that Paragraph 41 of the Amended Complaint accurately quotes

portions of Section VII of the Policy.

       42.       Defendants admit that Paragraph 42 of the Amended Complaint accurately quotes

portions of Section VIII of the Policy. Defendants deny Plaintiff’s characterization of the quoted

provisions to the extent Plaintiff suggests that other portions of Section VIII are not “relevant.”

       43.       Defendants admit that a lawsuit was filed against Plaintiff styled as Leonardo

Hernandez Garcia v. General Packaging Corporation, D.C. 13-13137-D (“Underlying Lawsuit”)

and that a copy of the Petition filed in the Underlying Lawsuit is attached as Exhibit B to the

Amended Complaint. Defendants lack knowledge or information sufficient to form a belief about

the truth of the remaining allegations in Paragraph 43 of the Amended Complaint, and therefore

deny the same.

       44.       Defendants deny the allegations set forth in the first sentence of the Paragraph 44 of

the Amended Complaint. Defendants lack knowledge or information sufficient to form a belief about

the truth of the remaining allegations in Paragraph 44, and therefore deny the same.



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       45.     Defendants admit that Homeland received notice regarding a workplace accident (the

“Accident”) allegedly involving a Leonardo Hernandez (“Hernandez”). Defendants lack knowledge

or information sufficient to form a belief about the truth of the remaining allegations in Paragraph 45

of the Amended Complaint, and therefore deny the same.

       46.     Upon information and belief, Defendants admit that Exhibit C to the Amended

Complaint is a copy of a letter dated September 3, 2013, from AIM Benefit to Hernandez.

Defendants aver that the letter speaks for itself. Defendants deny any remaining allegations in

Paragraph 46 of the Amended Complaint.

       47.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 47 of the Amended Complaint, and therefore deny the same.

       48.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 48 of the Amended Complaint, and therefore deny the same.

       49.     Upon information and belief, Defendants admit that the Underlying Lawsuit is styled

Leonardo Hernandez Garcia v. General Packaging Corporation, D.C. 13-13137-D and is pending in

Dallas County District Court, 95th Judicial District. Defendants admit that Homeland received notice

of the existence of the Underlying Lawsuit. Defendants deny the remaining allegations in Paragraph

49 of the Amended Complaint.

       50.     Defendants admit the allegations found in Paragraph 50 of the Amended Complaint.

       51.     Defendants admit that Homeland received a letter dated February 13, 2014 from

Plaintiff, a copy of which is attached as Exhibit D to the Amended Complaint. Defendants aver that

the letter speaks for itself. The remaining allegations in Paragraph 51 of the Amended Complaint do

not require Defendants to admit or deny the allegations therein. To the extent a response is required,

Defendants deny the remaining allegations set forth in Paragraph 51.
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       52.     Defendants admit Exhibit E to the Amended Complaint is a copy of a letter dated

March 24, 2014. Defendants aver that the letter speaks for itself. Defendants deny the remaining

allegations set forth in Paragraph 52 of the Amended Complaint.

       53.     Defendants deny the allegations set forth in Paragraph 53 of the Amended Complaint.

       54.     Defendants admit that Exhibit F to the Amended Complaint is a copy of a letter dated

March 24, 2014. Defendants aver that the letter speaks for itself. Defendants deny the remaining

allegations set forth in Paragraph 54 of the Amended Complaint.

       55.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in the first sentence of Paragraph 55 of the Amended Complaint, and therefore

deny the same. Defendants deny the remaining allegations set forth in Paragraph 55.

IV.    COUNTS PERTAINING TO HOMELAND INSURANCE COMPANY OF NEW
       YORK, ONEBEACON INSURANCE GROUP, ONEBEACON INSURANCE
       COMPANY, ONEBEACON AMERICA[] INSURANCE GROUP, TRADERS &
       GENERAL INSURANCE COMPANY, TEXCAP-CONCORD INSURANCE
       SERVICES (“TEXCAP”), LP, ELGIN ALLEN, JR., AND AIM ASSOCIATION
       INSURANCE MANAGEMENT

       A.      COUNT 1: UNAUTHORIZED INSURANCE

       56.     Paragraph 56 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 56.

       57.     Paragraph 57 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 57.




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       58.     Defendants admit that Allen was the licensed surplus agent that placed the Policy

with Homeland. Defendants deny the remaining allegations set forth in Paragraph 58 of the

Amended Complaint.

       59.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 59 of the Amended Complaint, and therefore deny the same.

       60.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 60 of the Amended Complaint, and therefore deny the same.

       61.     Defendants deny the allegations set forth in Paragraph 61 of the Amended Complaint.

       62.     Defendants admit that the Amended Complaint accurately quotes Texas Insurance

Code Section 101.201(a). Defendants deny the remaining allegations set forth in Paragraph 62 of the

Amended Complaint.

       63.     Defendants deny the allegations set forth in Paragraph 63 of the Amended Complaint.

       64.     Defendants admit that the Amended Complaint accurately quotes Texas Insurance

Code Section 101.201(b), adding emphasis. Defendants deny the remaining allegations set forth in

Paragraph 64 of the Amended Complaint.

       65.     Paragraph 65 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 65.

       66.     Paragraph 66 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 66.




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       67.     Paragraph 67 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 67.

       68.     Paragraph 68 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 68.

       69.     Paragraph 69 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 69.

       70.     Paragraph 70 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 70.

       71.     Paragraph 71 of the Amended Complaint contains legal conclusions and, therefore,

does not require a response. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 71.

       72.     Defendants deny the allegations set forth in Paragraph 72 of the Amended Complaint.

       B.      COUNT 2: VIOLATIONS OF CHAPTER 981 OF THE INSURANCE CODE
               TEXAS SURPLUS LINES PROVISIONS

       73.     Paragraph 73 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 73.

       74.     Defendants deny the allegations set forth in Paragraph 74 of the Amended Complaint

as they pertain to Homeland, OIG, OIC, OAIC, and Traders. Defendants lack information sufficient


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to form a belief about the allegations in Paragraph 74 regarding Allen, AIM, and TexCap and

therefore deny same.

       75.     Defendants deny the allegations set forth in Paragraph 75 of the Amended Complaint.

       76.     Defendants deny the allegations set forth in Paragraph 76 of the Amended Complaint.

       C.      COUNT 3: CONSPIRACY TO VIOLATE PROVISIONS OF THE VIOLATION
               OF TEXAS SURPLUS LINES STATUTE

       77.     Paragraph 77 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 77.

       78.     Defendants admit that Lori Cernera sent a letter to Allen dated December 17, 2007.

Defendants aver that this letter speaks for itself. Defendants further admit that that Ms. Cernera is

currently the President of OAG. Defendants deny the remaining allegations found in Paragraph 78 of

the Amended Complaint.

       79.     Defendants deny the allegations set forth in Paragraph 79 of the Amended Complaint.

V.     COUNTS PERTAINING TO HOMELAND

       A.      COUNT 4: BREACH OF CONTRACT

       80.     Paragraph 80 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 80.

       81.     Defendants admit that Homeland issued the Policy to Plaintiff. Defendants deny the

remaining allegations set forth in Paragraph 81 of the Amended Complaint.

       82.     Defendants deny the allegations set forth in Paragraph 82 of the Amended Complaint.

       83.     Defendants deny the allegations set forth in Paragraph 83 of the Amended Complaint.


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       B.      COUNT 5: DECLARATORY JUDGMENT

       84.     Paragraph 84 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 84.

       85.     Paragraph 85 of the Amended Complaint does not require Defendants to admit or

deny the allegations therein. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 85.

       86.     Defendants admit that Paragraph 86 of the Amended Complaint accurately quotes a

portion of Section 406.092(a) of the Texas Labor Code. Defendants further admit that Paragraph 86

accurately quotes a portion of Section 401.011(4) of the Texas Labor Code. Defendants deny the

remaining allegations set forth in Paragraph 86.

       87.     Defendants admit that Paragraph 87 of the Amended Complaint accurately quotes

portions of Section VIII of the Policy.

       88.     Defendants deny the allegations set forth Paragraph 88 of the Amended Complaint.

       89.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 89 of the Amended Complaint, and therefore deny the same.

       90.     Defendants deny the allegations set forth in Paragraph 90 of the Amended Complaint.

       91.     Defendants deny that Plaintiff is entitled to a judicial declaration as alleged in

Paragraph 91 of the Amended Complaint.

       C.      COUNT 6: BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       92.     Paragraph 92 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 92.

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       93.     Defendants deny the allegations set forth in Paragraph 93 of the Amended Complaint.

       94.     Defendants deny the allegations set forth in Paragraph 94 of the Amended Complaint.

       95.     Defendants deny the allegations set forth in Paragraph 95 of the Amended Complaint.

       96.     Defendants deny the allegations set forth in Paragraph 96 of the Amended Complaint.

       97.     Defendants deny the allegations set forth in Paragraph 97 of the Amended Complaint.

       D.      COUNT 7: BREACH OF PROMPT PAYMENT STATUTE AGAINST
               HOMELAND, OIC, AND OIG

       98.     Paragraph 98 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 98.

       99.     Defendants deny the allegations set forth in Paragraph 99 of the Amended Complaint.

       100.    Defendants deny the allegations set forth in Paragraph 100 of the Amended

Complaint.

       101.    Defendants admit that Exhibits E and F to the Amended Complaint are copies of two

letters dated March 24, 2014. Defendants aver that these letters speak for themselves. Defendants

deny the remaining allegations found in Paragraph 101 of the Amended Complaint.

       E.      COUNT 8: VIOLATIONS OF THE UNFAIR SETTLEMENT PRACTICES ACT

       102.    Paragraph 102 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 102.

       103.    Defendants deny the allegations set forth in Paragraph 103 of the Amended

Complaint.




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       104.    Defendants deny the allegations set forth in Paragraph 104 of the Amended

Complaint.

       105.    Defendants deny the allegations set forth in Paragraph 105 of the Amended

Complaint.

       106.    Defendants deny the allegations set forth in Paragraph 106 of the Amended

Complaint.

VI.    COUNTS PERTAINING TO INSURANCE AGENTS

       A.      COUNT 9: BREACH OF CONTRACT AGAINST TEXCAP, ALLEN, AND AIM

       107.    Paragraph 107 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 107.

       108.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 108 of the Amended Complaint, and therefore deny the same.

       109.    Defendants deny the allegations set forth in Paragraph 109 of the Amended

Complaint.

       110.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 110 of the Amended Complaint, and therefore deny the same.

       111.    Defendants deny the allegations set forth in Paragraph 111 of the Amended

Complaint.

       112.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 112 of the Amended Complaint, and therefore deny the same.

       113.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 113 of the Amended Complaint, and therefore deny the same.

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       114.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 114 of the Amended Complaint, and therefore deny the same.

       B.      COUNT 10: NEGLIGENCE OF TEXCAP, ALLEN, AND AIM

       115.    Paragraph 115 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 115.

       116.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 116 of the Amended Complaint, and therefore deny the same.

       117.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 117 of the Amended Complaint, and therefore deny the same.

       118.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 118 of the Amended Complaint, and therefore deny the same.

       119.    Defendants deny the allegations set forth in Paragraph 119 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 119, and therefore deny the same.

       120.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 120 of the Amended Complaint, and therefore deny the same.

       121.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 121 of the Amended Complaint, and therefore deny the same.

       122.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 122 of the Amended Complaint, and therefore deny the same.

       C.      COUNT 11: FRAUDULENT INDUCEMENT



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       123.    Paragraph 123 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 123.

       124.    Defendants deny the allegations set forth in Paragraph 124 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 124, and therefore deny the same.

       125.    Defendants deny the allegations set forth in Paragraph 125 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 125, and therefore deny the same.

       126.    Defendants deny the allegations set forth in Paragraph 126 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 126, and therefore deny the same.

       127.    Defendants deny the allegations set forth in Paragraph 127 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 127, and therefore deny the same.

       128.    Defendants deny the allegations set forth in Paragraph 128 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 128, and therefore deny the same.

       129.    Defendants deny the allegations set forth in Paragraph 129 of the Amended

Complaint as they relate to Homeland. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remaining allegations in Paragraph 129, and therefore deny the same.




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       D.      COUNT 12: NEGLIGENT MISREPRESENTATION

       130.    Paragraph 130 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 130.

       131.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 131 of the Amended Complaint, and therefore deny the same.

       132.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 132 of the Amended Complaint, and therefore deny the same.

       133.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 133 of the Amended Complaint, and therefore deny the same.

       134.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 134 of the Amended Complaint, and therefore deny the same.

       135.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 135 of the Amended Complaint, and therefore deny the same.

       E.   COUNT 13: TORTIOUS INTERFERENCE WITH A CONTRACT AGAINST
       AIM BENEFIT, OIG, AND OIC

       136.    Paragraph 136 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 136.

       137.    Defendants admit that Homeland issued the Policy to Plaintiff and that the Policy is a

contract which speaks for itself. Defendants deny any remaining allegations set forth in Paragraph

137 of the Amended Complaint.




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       138.    Defendants deny the allegations set forth in Paragraph 138 of the Amended

Complaint.

       139.    Defendants deny the allegations set forth in Paragraph 139 of the Amended

Complaint.

       140.    Defendants deny the allegations set forth in Paragraph 140 of the Amended

Complaint.

       D.  COUNT 14: VIOLATIONS OF DTPA AND INSURANCE CODE AGAINST ALL
       DEFENDANTS

       141.    Paragraph 141 of the Amended Complaint does not contain any allegations and,

therefore, does not require a response. To the extent a response is required, Defendants deny the

allegations set forth in Paragraph 141.

       142.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 142 of the Amended Complaint, and therefore deny the same.

       143.    Defendants deny the allegations set forth in Paragraph 143 of the Amended

Complaint.

       144.    Defendants deny the allegations set forth in Paragraph 144 of the Amended

Complaint.

       145.    Defendants deny the allegations set forth in Paragraph 145 of the Amended

Complaint.

       146.    Defendants deny the allegations set forth in Paragraph 146 of the Amended

Complaint.

       147.    Defendants deny the allegations set forth in Paragraph 147 of the Amended

Complaint.


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        148.    Defendants deny the allegations set forth in Paragraph 148 of the Amended

Complaint.

VII.    JURY TRIAL DEMAND

        149.    Paragraph 149 of the Amended Complaint does not require Defendants to admit or

deny the allegations therein. To the extent a response is required, Defendants deny the allegations set

forth in Paragraph 149.

VIII. ATTORNEYS’ FEES

        150.    Defendants deny the allegations set forth in Paragraph 150 of the Amended

Complaint.

IX.     PRAYER

        151.    Defendants deny that it is liable to Plaintiff on any of the claims alleged, and deny

that Plaintiff is entitled to damages, statutory or punitive damages, a declaratory judgment, equitable

relief, injunctive relief, attorneys’ fees, costs, pre-judgment or post-judgment interest or to any relief

whatsoever as pleaded in Paragraph 151 of the Amended Complaint.

                                       B.
                       AFFIRMATIVE AVERMENTS AND DEFENSES

        1.      Defendants deny that all conditions precedent to Plaintiff’s right of recovery have

been performed or occurred.

        2.      Defendants allege by way of affirmative defense that Plaintiff’s claims are barred by

the doctrines of waiver, estoppel by contract, and estoppel by deed.

        3.      Defendants allege by way of affirmative defense that Plaintiff’s claims are barred and

preempted by the Employee Retirement Income Security Act of 1974.

        4.      Defendants further aver by way of affirmative defense that the decision to deny


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Hernandez’s eligibility for benefits under the Policy and the related employee benefits plan was

legally correct and the decision was not the result of an abuse of discretion.

         5.    Defendants allege by way of affirmative defense that Plaintiff’s claims are barred

pursuant to the terms of the Policy, including exclusions: (a) negating coverage for a Covered Person

who was untruthful in any aspect of the required information supplied as part of the employment

process and (b) negating coverage for losses arising in whole or in part from losses resulting from or

occurring during the commission or attempted commission of a crime by a Covered Person.

         5.    Defendants allege by way of affirmative defense that Plaintiff’s claims are barred by

the applicable statute of limitations.

         6.    Defendants allege by way of affirmative defense that Plaintiff’s claims are barred due

to a failure of consideration.

         7.    Defendants allege by way of affirmative defense that Plaintiff’s claims are barred by

fraud.

         8.    Defendants allege by way of affirmative defense that Plaintiff’s claims are barred by

Plaintiff’s voluntary payment.

         9.    Defendants allege that Plaintiff has improperly joined parties in this case.




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                                              Respectfully submitted,

                                              JACKSON WALKER L.L.P.

                                              By: /s/ Christopher A. Thompson
                                                  David T. Moran
                                                  State Bar No. 01479500
                                                  Christopher A. Thompson
                                                  State Bar No. 24002040
                                                  Michael F. West
                                                  State Bar No. 24078283
                                                  901 Main Street, Suite 6000
                                                  Dallas, Texas 75202
                                                  (214) 953-6000
                                                  (214) 953-5822 - Fax
                                                  dmoran@jw.com
                                                  cthompson@jw.com
                                                  mwest@jw.com

                                              ATTORNEYS FOR DEFENDANTS
                                              HOMELAND INSURANCE COMPANY
                                              OF NEW YORK, ONEBEACON
                                              INSURANCE GROUP, LLC,
                                              ONEBEACON INSURANCE
                                              COMPANY, ONEBEACON AMERICA
                                              INSURANCE COMPANY, AND
                                              TRADERS & GENERAL INSURANCE
                                              COMPANY




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                                   CERTIFICATE OF SERVICE

        On November 17, 2014, I electronically submitted the foregoing document with the clerk of

the court for the U.S. District Court, Northern District of Texas using the electronic case files system

of the court, which will provide electronic notice to all parties who have entered an appearance by

and through their attorney of record. I certify that service was sent to Leonardo Hernandez through

his attorneys via certified mail return receipt requested and facsimile as follows:



 ATTORNEYS FOR LEONARDO
 HERNANDEZ
 Kurt B. Arnold
 State Bar No. 24036150
 J. Kyle Findley
 State Bar No. 24076382
 Sara Scott
 State Bar No. 24076382
 ARNOLD & ITKIN LLP
 6009 Memorial Drive
 Houston, Texas 77007
 (713) 222-3800 – Telephone
 (713) 220-3850 – Facsimile
 e-service@arnolditkin.com




                                                        By: /s/ Christopher A. Thompson
                                                            Christopher A. Thompson
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